Case 2:04-cr-20435-SHL Document 35 Filed 05/09/05 Page 1 of 2 Page|D 38

in co L, §§ a.c.
IN THE UN!TED STATES DISTRICT COURT §
FoR THE WESTERN DISTRICT oF TENNESSE@§ mw _9 p; !2, 97

    

   

WESTERN DIVISION
FiOEE:'€T § .. ..il Ti-EOLLO
UNITED STATES OF AMERICA, ) Ct_t;§i?!j¢ ` . _ §:';S§T c
) \.l'\f`l:], {:r Tt;i w"i; l\ i"iiv
Plaintiff, )
)
) CR. NO. 04-20435 -B
)
)
WESLEY DAVIS )
)
)
Defendant. )
)
)

 

ORDER GRANTING MOTION TO CONTINUE CHANGE OF PLEA HEARING

 

IT APPEARING TO THIS COURT THAT upon the fit ed motion of the United States,
and upon the entire record in this matter, that the motion to continue the change of plea hearing,
set for May 9, 2005 is well-taken, and should be granted

IT IS SO ORDERED

 

 

J. D IEL BREEN \
IT D STATES DISTRICT JUDGE

Tnis document entered on the docket sallee |n compliance
with Fiute 55 and/or 32{b) FHCrP on “

 

   

UNITED sTATE DISTRIC CoUR - WE"RNTE D's'TRCT oFTENNEssEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 35 in
case 2:04-CR-20435 Was distributed by faX, mail, or direct printing on
May 9, 2005 to the parties listed.

 

 

Leonard E. Lucas

U.S. ATTORNEY'S OFFICE
167 N. Main St.

Ste. 800

Memphis7 TN 38103

M. lake Werner

LAW OFFICE OF M. JAKE WERNER
46 N. Third St.

Ste. 628

Memphis7 TN 38103

Honorable J. Breen
US DISTRICT COURT

